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 Defendant, Christopher Carmichael


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                    )
                                              )
                            Plaintiff,        )
                                              )
     vs.                                      ) 3:19-cr-00148
                                              )
 CHRISTOPHER CARMICHAEL,                      )
                                              )
                            Defendant.        )
                                              )

  SENTENCING MEMORANDUM AND FACTORS IN CONSIDERATION OF SENTENCING
                      OF CHRISTOPHER CARMICHAEL

     COMES    NOW     the    Defendant,     Christopher   Carmichael,   by   and

 through his counsel Allen N. Dayan, and files his sentencing

 memorandum and factors in consideration of his sentence.

     The sentencing Guideline range in this case is from 360 to

 life.

 Proposed sentence:

     Pursuant to 18 U.S.C. Section 3553 Christopher Carmichael

 to be sentenced to serve a sentence of 15 years in a federal

 facility followed by a lifetime of supervised release.


                            LAW

     The decision in United States v. Booker, 125 S.Ct. 735,

 (2005),     holds     that       the   Federal   Sentencing   Guidelines    are

Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 1 of 14
 advisory. District Courts must consult the Guidelines but are

 required to take into account the provisions set forth in 18

 U.S.C. § 3553(a) when determining the particular sentence to be

 imposed.

     The relevant factors set forth in 18 § 3553 for sentencing

     are:

  (a) Factors to be considered in imposing a sentence. The court

 shall impose a sentence sufficient, but not greater than

 necessary, to comply with the purposes set forth in paragraph

 (2) of this subsection. The court, in determining the

 particular sentence to be imposed, shall consider--

     (1) the nature and circumstances of the offense and the

 history and characteristics of the defendant;

     (2) the need for the sentence imposed--

        (A) to reflect the seriousness of the offense, to promote

 respect for the law, and to provide just punishment for the

 offense;

        (B) to afford adequate deterrence to criminal conduct;

        (C) to protect the public from further crimes of the

 defendant; and

        (D) to provide the defendant with needed educational or

 vocational training, medical care, or other correctional

 treatment in the most effective manner;

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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 2 of 14
     (3) the kinds of sentences available;

     (4) the kinds of sentence and the sentencing range

 established for--

        (A) the applicable category of offense committed by the

 applicable category of defendant as set forth in the

 guidelines--

           (i) issued by the Sentencing Commission pursuant to

 section 994(a)(1) of title 28, United States Code, subject to

 any amendments made to such guidelines by act of Congress

 (regardless of whether such amendments have yet to be

 incorporated by the Sentencing Commission into amendments

 issued under section 994(p) of title 28); and

           (ii) that, except as provided in section 3742(g) [18

 USCS § 3742(g)], are in effect on the date the defendant is

 sentenced;

     (5) any pertinent policy statement--

        (A) issued by the Sentencing Commission pursuant to

 section 994(a)(2) of title 28, United States Code, subject to

 any amendments made to such policy statement by act of Congress

 (regardless of whether such amendments have yet to be

 incorporated by the Sentencing Commission into amendments

 issued under section 994(p) of title 28); and

        (B) that, except as provided in section 3742(g) [18 USCS

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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 3 of 14
 § 3742(g)], is in effect on the date the defendant is

 sentenced.

     (6) The need to avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of

 similar conduct; and

     (7) the need to provide restitution to any victims of the

 offense.

   These factors provide a common sense approach to protect

 society, reaffirm societal norms and provide treatment for the

 defendant.

Consideration of the 3553(a) Factors




 THE NATURE AND CIRCUMSTANCES OF THE OFFENSE AND THE HISTORY AND

CHARACTERISTICS OF THE DEFENDANT

     Christopher    Carmichael       will   be    3   days     shy   of   his    57th

 birthday   at   sentencing.    He    comes      before   the    court    with    no

 criminal record. His father was a violent abusive alcoholic.

 When his mother divorced him she married someone who was even

 more abusive to Mr. Carmichael. The children were not allowed

 to speak in the home and they were deprived of food and were

 severely     malnourished.    His    sister’s        letter    of   support      is




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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 4 of 14
 especially telling.                 (see attached letters of support labeled

 exhibit A)

       When Mr. Carmichael graduated from high school he joined

 the marines and had an exemplary career before injuries forced

 his     retirement.           He     received        many    decorations     and       awards

 including: 3 certificates of good conduct, a Navy Achievement

 medal,      a    Southwest         Asia       Service   medal,    a   national         Defense

 Service         medal,    a    Sea     Service       deployment     medal,     a    national

 defense         service       medal,      a    combat    infantry     badge,       a   Kuwait

 liberation medal, a Meritorious Unit Commendation and a Navy

 Unit commendation.                 The clearing of mines in In Desert Storm/

 Desert Shield was especially traumatic as he witnessed hundreds

 of civilians trapped in mine fields killed. This resulted in

 severe PTSD and severe depression.

       After he left the marines obtained his bachelor’s degree

 and his Masters. He worked as a teacher for and principal for

 23 years.



       Mr.   Carmichael          has    obtained         an   evaluation    from        a   PHD.

 Psychologist and that report has been submitted to the court.

 Attached and filed under seal as exhibit B) This report states

Regarding amenability to treatment, it was found that Chris was generally open and
disclosing which should carry over into treatment. He acknowledges he engaged in
deviant sexual behavior and does report committing a sexual offense. He reports he
feels guilty about his behavior, is ashamed of what he did and is sorry for the victim.
                                                                                               5


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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 5 of 14
The MSI II results suggest the main finding is that Chris does disclose having had sex
deviance problems involving molesting a girl, sexual arousal to children/minors and
deviant pornography. Knowing and understanding that he is the one who thought
about, fantasized about an found a way to make his offense behavior happen is critical
to learning to control deviant sexual behavior. In this case, Chris has thinking errors
which keep him being able to accept full accountability for his sexual deviance. He is a
suitable candidate for treatment if motivated.

His interest and motivation for treatment is typical of individuals being seen in treatment
settings and he appears motivated for treatment. His responses suggest an
acknowledgment of important problems and the perception of a need for help in dealing
with these problems. He reports a positive attitude toward the possibility of personal
change, the value of therapy, and the importance of personal responsibility.




       If ever a person’s background and conduct pointed to a

 mitigated sentence for this type of crime it is Mr. Carmichael.



       The    sentencing       emphasis        in     case     should    be    protecting

 children      and    treatment.         The        proposed    sentence       allows    the

 defendant       to     be   incarcerated        for    15   years      to    reflect    the

 seriousness       of    the   crime     and     societal      condemnation       of    this

 conduct. Mr. Carmichael will be able to obtain treatment while

 under supervised release.



 TO REFLECT THE SERIOUSNESS OF THE OFFENSE, TO PROMOTE RESPECT

       FOR THE LAW AND TO PROVIDE JUST PUNISHMENT FOR THE OFFENSE;

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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 6 of 14
     Any offense which concerns the safety of our children is

     very serious. This is reflected in the sentencing

     guidelines for the offense which are extraordinarily harsh.

     The difficult issue for the court in this case is what is a

     just sentence when you have a person who has committed

     these crimes but is exceptional in some parts of his

     background, his relationships and is committed to

     rehabilitation. Certainly, the fact that he will have to

     register as a sex offender for the rest of his life

     reflects the seriousness of the offense. The issue is how

     much incarceration is necessary?        Respect for the law

     requires a sentence which fits the person and his crime. In

     this case a sentence of 15 years incarceration could be a

     life sentence for 57 year old man. The lifetime of

     supervised release further emphasizes the seriousness and

     promotes respect for the law. The sections overriding

     principle is that The court shall impose a sentence

     sufficient, but not greater than necessary, to comply with

     the purposes of Section 3553. The proposed sentence meets

     the above requirements.




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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 7 of 14
 The need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of

similar conduct.



In U.S. v Eric Larson 3:19-Cr-44-001SLG the facts were similar

     to this case his offense level was 32 with an offense level

     was sentenced to 120 months. A guideline range in this case

     would violate this provision of Section 3553.




THE SENTENCE MUST AFFORD ADEQUATE DETERENCE TO CRIMINAL CONDUCT

     Will the public at large be deterred by this sentence? 15

     years of confinement with a lifetime of registration and

     supervision is a powerful deterrent for anyone who is

     considering this conduct. The disgrace of the charges

     combined with the stigma of being incarcerated and having

     to announce to the world you are a sex offender is powerful

     stuff.




 SENTENCE THAT PROTECTS THE PUBLIC FROM FURTHER CRIMES OF THE

 DEFENDANT

                                                                     8


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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 8 of 14
        Mr.    Carmichael        will    be    about      70    years       old    when    he     is

 released. The likelihood of recidivism by a 70 year old is very

 low.     In    fact,      according           to     a   United       States       Sentencing

 Commission       Report     released          in    May,      2004,    "Recidivism            rates

 decline consistently as age increases. Generally, the younger

 the offender, the more likely the offender recidivates." See

 U.S.S.C.,        Measuring             Recidivism:            The     Criminal           History

 Computation         of    the    Federal           Sentencing       Guidelines,          at    12,

 http://www.ussc.gov/publicat/Recidivism_General.pdf.                                 As         the

 report       states,      "Among        all        offenders        under    age     21,        the

 recidivism rate is 35.5%, while offenders over age 50 have a

 recidivism       rate     of     9.5%."       Id.     According       to    the    Commission

 Report,       for    criminal          history        category        I     offenders          like

 defendant Carmichael, the recidivism rates were as follows:


      Age at              Category I Percent Recidivating
     Sentence
   Under age 21                                35.5%
   Ages 21-25                                  31.9%
   Ages 26-30                                  23.7%
   Ages 31-3 5                                 23.8%
   Ages 36-40                                  19.7%
   Ages 41-50                                  12.7%
   Ages over 50                                9.5%


 Id. at 28. The positive correlation between age and recidivism

 is impossible to deny. Indeed, as shown above, the Sentencing
                                                                                                   9


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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 9 of 14
  Commission in its report did not even bother to separately

  report statistics on recidivism rates of inmates who are over

  50 at the time of sentence (or age 57 Like Carmichael). One can

  only reasonably assume that the trend of decreasing recidivism

  continues downward after the age of 50. Under the guidelines,

  the age of the offender is not ordinarily relevant in

  determining the sentence. See § 5H1.1. But under §

  3553(a)(2)(C), age of the offender is plainly relevant to the

  issue of "protecting the public from further crimes of the

  defendant." See also Booker, 125 S. Ct. at 765.


  C.    PROVIDE THE DEFENDANT WITH TREATMENT IN THE MOST EFFECTIVE
       MANNER
       There is limited treatment available in prison. The first

step to solving any difficult problem is the self-realization

that there is a problem and overcoming denial.                     To his credit,

Mr. Carmichael has sought help and is doing everything he can to

deal with his problem.               He is actively trying to work on the

underlying causes of his problem and is sincerely remorseful for

his conduct. Mr. Carmichael is not requesting a slap on the

wrist.     The     most       important   factors     to   be   considered    in   Mr.

Carmichael’s       case       are   isolation   and    rehabilitation        and   the

monitoring    of      that      rehabilitation.        Simply     warehousing      Mr.

Carmichael       in       a      correctional       facility      for    life      is


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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 10 of 14
counterproductive to society.          What society is looking to the

courts to do is to ensure Mr. Carmichael gets treatment and that

the treatment be monitored by federal authorities as long as

possible.     This focus is best for Mr. Carmichael and society.

     Finally,    he   has   helped   the   attorneys   who   represent   the

  victims in obtaining restitution this is also a factor under

  this section.

        §3552(a)(2)(D), requires a sentencing court to evaluate

  the need to provide defendants with education, training,

  treatment or medical care in the most effective manner, and its

  possible conflict with U.S.S.G. §5C1.1; §3553(a)(7), directing

  courts to consider the need to provide restitution, and its

  conflict with the Guidelines prohibition on departures to

  facilitate restitution; and the Guidelines’ potential conflict

  with the primary directive of §3553(a), to “’impose a sentence

  sufficient, but not greater than necessary, to comply with the

  purposes’ of sentencing.”      See United States v. Nellum, 2005

  U.S. Dist. LEXIS 1568 .


        The Nellum court wrote: “What complicates this task [of

  sentencing] after Booker is that many of the §3553(a) factors –

  such as the history and characteristics of the defendant, See

  §3553(a)(1) – are factors that the guidelines ‘either reject or

  ignore.’”     [Citation omitted.]
                                                                          11


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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 11 of 14
          The Guidelines sentencing scheme violated not just the

  Sixth Amendment, but 18 U.S.C. §3661: “No limitation shall be

  placed on the information concerning the background, character,

  and conduct of a person convicted of an offense which a court

  of the United States may receive and consider for the purpose

  of imposing an appropriate sentence,” cited in Breyer, J., slip

  op., 8.    The Guidelines placed every limitation on the courts’

  consideration of such matters – except for prior bad and

  uncharged acts, criminal history (including arrests not

  resulting in conviction, a common element of PSRs), the all-

  inclusive “relevant conduct” and other negative information.

  The tacit purpose of the Sentencing Guidelines wasn’t just to

  ensure consistent sentences, but to ensure longer sentences.

  The Guidelines were effectively a prosecution brief – and not a

  “virtual” prosecution brief, either.




  THE GUIDELINE SENTENCING RANGE IN THIS CASE


  The guideline sentencing range in this case is 360 months to

  life.    This is an inappropriate sentence in this case for the

  reasons stated above.




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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 12 of 14
  THE COURT SHALLIMPOSE A SENTENCE SUFFICIENT BUT NOT GREATER

  THAN NECESSARY, TO COMPLY WITH THE PURPOSES SET FOURTH IN

  PARAGRAPH (2) OF THIS SUBSECTION


  The overriding principle of section 3553 is that the sentence is not greater than is necessary to

  accomplish to comply the statutes purposes; it is the sentence which is mandated by section

  3553. 15 years is heavy sentence for this conduct and any greater sentence would be excessive.


         CONCLUSION


  The proposed sentence of 15 years in a federal facility

  followed by a lifetime of supervised release is warranted to

  reflect the seriousness of the offense, provide punishment, and

  instill deterrence and to demonstrate to the public and Mr.

  Carmichael that this behavior will not be tolerated by society.

     This sentence places Mr. Carmichael in the government’s

  scrutiny requires him to register as a sex offender for the

  rest of his natural life.


         Mr. Carmichael has been an exemplary citizen until the

  present conduct. He deeply regrets his conduct and asks the court

  to not simply warehouse him, but rather sentence him to serve 15

  Years in a federal facility followed by supervised release for

  the rest of his natural life. That is the sentence which is

  necessary to achieve the sentencing goals set forth above.


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Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 13 of 14
      DATED this      the day of         6 , OF JULY 2021, at Anchorage,

   Alaska.

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    Certificate of Service
   I hereby certify that on July 6, 2021, a copy of the foregoing
   sentencing Memorandum was Electronically Served on ASUSA and
   U.S. Probation Officer Matt Jedrosko.


   S/Allen N. Dayan




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                                    14

Case 3:19-cr-00148-TMB-MMS Document 74 Filed 07/07/21 Page 14 of 14
